Case 1:21-cr-00080-NGG Document 95 Filed 03/13/23 Page 1 of 2 PageID #: 1278



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                                                       March 13, 2023

The Honorable Nicholas G. Garaufis
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re: United States v. Douglass Mackey, Criminal Docket No. 21-0080 (NGG)

Dear Judge Garaufis:

               To protect Mr. Mackey’s interests, and with great reluctance, I have no choice but
to request a two-week adjournment of the trial.

                The government’s motion to preclude the testimony of Professor George Hawley,
an expert witness noticed by Douglass Mackey in the above-referenced case, is sub judice. I
learned this morning that a researcher named Luke O’Brien from the Southern Poverty Law
Center (“SPLC”) is close to publishing an article about the imminent trial in this case which,
among other things, unfairly disparages Professor Hawley. Mr. O’Brien waited until the start
of trial to submit written questions to Professor Hawley in an apparent attempt to paint him as
an extremist, including questions based on private emails which Mr. O’Brien obtained,
simultaneously asking Professor Hawley if his employer, the University of Alabama, is aware of
his proffered testimony at Mr. Mackey’s trial.

                Upon learning of the imminent article, I encouraged Professor Hawley to answer
all of Mr. O’Brien’s questions to allay his unfounded claims, and Professor Hawley did so in
writing, thereby creating a record for the government. I also requested that Mr. O’Brien not
include Professor Hawley in his article at least until after Professor Hawley testifies (assuming
that the Court denies the government’s motion to preclude) so as not to threaten the integrity of
the trial. Mr. O’Brien nonetheless insisted on publishing the article. Whether or not Mr.
O’Brien’s approach constitutes actionable wrongdoing, Professor Hawley has asked me to
withdraw his name as a witness. Upon consultation with Mr. Mackey, I hereby do so.

                Responding to the government’s concern that a cooperating witness might face
reputational harm from members of his ideological community (and for other reasons), the Court
granted the government’s application for certain protective measures, even though the
cooperating witness will be appearing at Mr. Mackey’s trial voluntarily to gain the promised
benefits of a cooperation agreement. By contrast, Mr. Mackey is the defendant for whom a
Case 1:21-cr-00080-NGG Document 95 Filed 03/13/23 Page 2 of 2 PageID #: 1279




defense witness has been gratuitously threatened with reputational harm by an organization
which has an ideological interest in his conviction.

               For these reasons, I have no choice but to request a short adjournment of trial so
that I may endeavor to identify a replacement expert witness.

                                             Respectfully submitted,

                                             /s/ Andrew J. Frisch
                                             Andrew J. Frisch

cc: AUSA Erik Paulsen
    AUSA Turner Buford
    AUSA William Gullotta
